FEDERAL SUBSISTENCE BOARD                         7/16/2020         WORK SESSION




                                  FEDERAL SUBSISTENCE BOARD

                                       WORK SESSION MEETING


                                    TELECONFERENCE - ALASKA
                                         JULY 16, 2020




          MEMBERS PRESENT:

          Anthony Christianson, Chairman
          Rhonda Pitka, Public Member
          Chad Padgett, Bureau of Land Management
          Greg Siekaniec, U.S. Fish and Wildlife Service
          Donald Striker, National Park Service
          Gene Peltola, Bureau of Indian Affairs
          David Schmid, U.S. Forest Service



          Ken Lord, Solicitor's Office




          Recorded and transcribed by:
          Computer Matrix Court Reporters, LLC
          135 Christensen Drive, Second Floor
          Anchorage, AK 99501
          907-243-0668; sahile@gci.net




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                                                   ExhibitPage
     Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                               1 of 341 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020         WORK SESSION


                                                                       Page 2
  1                                  P R O C E E D I N G S
  2
  3                              (Teleconference - 7/16/2020)
  4
  5                                 (On record)
  6
  7                                 (Operator instructions)
  8
  9                       CHAIRMAN CHRISTIANSON: Thank you,
 10       Operator. Welcome everybody to this Thursday, July
 11       16th work session for the Federal Subsistence Board,
 12       and I thank everybody for taking their time to call in
 13       and work on these special actions that we have before
 14       us today.
 15
 16                       With that, you know, we, prior to the
 17       meeting had executive session and just were looking at,
 18       you know, just getting a brief overview of some legal
 19       issues that -- to brief us and give us a short update
 20       because some of us are all new Board members and just
 21       to make sure that we're all on the same page as we look
 22       at our agenda before us and start to make actions, and
 23       so I appreciated that session there.
 24
 25                       So with that I'm going to go ahead and
 26       open up the floor to review and adopt the agenda.
 27
 28                       MS. DETWILER: Mr. Chair, this is Sue.
 29       Do you want me to quickly go over what's in the agenda?
 30
 31                       CHAIRMAN CHRISTIANSON: Yeah, Sue, if
 32       you wouldn't mind, you can go ahead and just review the
 33       agenda and then after we do review the agenda there we
 34       can entertain a motion to adopt.
 35
 36                       MS. DETWILER: Okay, thank you. So
 37       today's agenda we have five special actions and the
 38       order that they're currently on the agenda, I will go
 39       -- just briefly touch on each of those.
 40
 41                       The first one is Wildlife Special
 42       Action 20-05 pertaining to moose in Unit 18.
 43
 44                       Next agenda item is Wildlife Special
 45       Action 20-04 pertaining to caribou in Units 9, 17, 18
 46       and 19.
 47
 48                       Next is Wildlife Special Action 20-01
 49       pertaining to caribou in Unit 13.




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                2 of 342 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020                       WORK SESSION


                                                                                      Page 43
  1                                 MS. DETWILER:             Okay.
  2
  3                                 Anthony Christianson, Chair.
  4
  5                                 CHAIRMAN CHRISTIANSON:              Yes, I support
  6       as stated.
  7
  8                                 MS. DETWILER:             Okay.   Motion passes
  9       seven to zero.
 10
 11                       And that will bring us to Wildlife
 12       Special Action 20-03 pertaining to moose and caribou in
 13       Unit 13 and, again, that's Lisa Maas.
 14
 15                       CHAIRMAN CHRISTIANSON: We'll call on
 16       Lisa to provide the analysis, thank you.
 17
 18                       MS. MAAS: All right, thank you, Mr.
 19       Chair. Again, for the record my name is Lisa Maas and
 20       I'll be presenting a summary of the analysis for
 21       Temporary Wildlife Special Action WSA20-03.
 22
 23                       WSA20-03 was submitted by Kirk Wilson
 24       of Glennallen and requests that the Federal Subsistence
 25       Board close Federal public lands in Unit 13 to the
 26       hunting of moose and caribou by non-Federally-qualified
 27       users for the 2020/21 season.
 28
 29                       The proponent states that this closures
 30       is necessary due to extreme hunting competition from
 31       high numbers of non-Federally-qualified users which
 32       precludes a rural subsistence priority and results in
 33       low harvest success by Federally-qualified subsistence
 34       users. Because of this, the proponent states: action
 35       is necessary to ensure the continuation of Federal
 36       subsistence uses of moose and caribou in Unit 13 and
 37       for reasons of public safety because there are too many
 38       non-Federally-qualified users to safely hunt and pass
 39       on customary and traditional harvest practices.
 40
 41                       The proponent further states that this
 42       request could serve as an experiment to evaluate the
 43       potential of a Federal lands closure as a long-term
 44       solution to increasing harvest success rates and
 45       providing for the subsistence uses of Federally-
 46       qualified subsistence users.
 47
 48                       In 2002 the Board rejected Proposal
 49       WP02-17 which requested closure of Federal lands in




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                3 of 343 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020         WORK SESSION


                                                                      Page 44
  1       Units 13A and 13B to moose and caribou hunting by non-
  2       Federally-qualified users. The Board, Southcentral
  3       Regional Advisory Council, InterAgency Staff Committee
  4       and the Alaska Department of Fish and Game all opposed
  5       this closure because it would not result in
  6       conservation benefit due to the limited amount of
  7       Federal public land in Unit 13 because additional
  8       opportunity existed for Federal subsistence users to
  9       hunt on Federal public lands after the State season
 10       closed and because of the more liberal Federal harvest
 11       limit and longer season.
 12
 13                       In 2019 the Board rejected Temporary
 14       Wildlife Special Action WSA19-03 which requested
 15       closure of the Federal public land in Unit 13 to
 16       caribou and moose hunting by non-Federally-qualified
 17       users for the 2019/20 season. The Board determined the
 18       requested closure was not warranted for conservation,
 19       continuation of subsistence uses or safety reasons.
 20       Federally-qualified subsistence users annual harvest
 21       rates have remained fairly consistent in comparison to
 22       the annual harvest rates by non-Federally-qualified
 23       users. In addition the closure would not have
 24       alleviated public safety concerns as non-Federally-
 25       qualified users would still have been able to cross
 26       Federal public lands to access State and private lands.
 27
 28                       In September of 2019, ADF&G issued an
 29       emergency order to extend the closing date for all
 30       State caribou hunts in Unit 13 by 10 days to September
 31       30th to help reduce the size of the Nelchina Herd.
 32
 33                       Resident Hunters of Alaska submitted
 34       written comments in opposition of WSA20-03 stating the
 35       closure is not needed because the Nelchina is above
 36       population objectives, additional harvest is needed and
 37       ample opportunity exists for all hunters. A member of
 38       the public also submitted written comments in
 39       opposition to the request stating that public lands are
 40       for all members of the public, not just some, and
 41       plenty of hunting opportunity already exists. ADF&G
 42       submitted written comments on WSA20-03 stating no
 43       conservation concerns exists for either moose or
 44       caribou in Unit 13 and hunting pressure has not been
 45       shown to displace moose or caribou from traditional
 46       migration corridors. ADF&G further commented that a
 47       closure would not likely affect hunting success of
 48       Federally-qualified users or address public safety
 49       concerns.




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                4 of 344 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020         WORK SESSION


                                                                      Page 45
  1                       During the public hearing for WSA20-03
  2       13 people testified, five in opposition, and seven in
  3       support. Opposition to the request included a lack of
  4       need because no conservation concerns exist and that
  5       public lands should be open to everyone. Several
  6       supporters of the request referenced Title VIII of
  7       ANILCA calling for a rural subsistence priority. One
  8       testifier pointed out that ADF&G has extended the
  9       State's fall caribou season in recent years precluding
 10       a rural priority from a longer fall season. Other
 11       testifiers mentioned that Federal lands in Unit 13 only
 12       compromise a small portion of the unit and State
 13       hunters have plenty of other areas to hunt while other
 14       Federal lands in the area are difficult to access.
 15       Another testifier stated that law enforcement was a
 16       major reason the Board rejected WSA19-03, however,
 17       enforcement is an agency issue and not a reason for the
 18       Board to reject or approve a request under ANILCA.
 19
 20                       The proponent of this request testified
 21       that the influx of caribou hunters during moose season
 22       takes away moose hunting opportunity from Federally-
 23       qualified subsistence users.   He further stated that
 24       the area is too crowded to safely hunt as people aim
 25       guns at one another and shoot over people's heads.
 26
 27                       Several other testifiers echoed these
 28       safety and overcrowding concerns. One stated he no
 29       longer hunts in the area because of the terrible
 30       overcrowding.
 31
 32                       The relevant caribou biology was just
 33       presented as part of WSA20-01 so I will move on to
 34       moose.
 35
 36                       Moose populations in Unit 13 have grown
 37       since 2001. Since 2008 the Unit 13 moose population
 38       has been within State management objectives. In 2019
 39       the unit-wide population estimate was 19,000 moose.
 40       However, the Unit 13 moose population dropped below
 41       subunit population objectives in 2013 where it has
 42       remained. Fall bull/cow ratios have been above State
 43       management objectives since 2004, however, the lowest
 44       bull/cow ratios have been found in the most accessible
 45       portions of each subunit. Calf/cow ratios have been
 46       below State management objectives since 2001 only
 47       averaging 20 calves per 100 cows, however, despite
 48       these low ratios population estimates demonstrate a
 49       gradually increasing population trend.




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                5 of 345 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020         WORK SESSION


                                                                      Page 46
  1                       Conflicts between local and non-local
  2       hunters has been a longstanding issue in Unit 13.
  3
  4                       In 2009 to 2013 household surveys,
  5       almost every Unit 13 community noted concern over non-
  6       local hunters stating that non-local hunters who have
  7       lots of expensive equipment were out competing local
  8       hunters and driving game away. Public testimony in
  9       support of WSA19-03 included many concerns over intense
 10       hunting pressure, unsafe hunting conditions, over
 11       crowding, deflection of game and increased difficulty
 12       for Federally-qualified subsistence users to harvest
 13       both moose and caribou in Unit 13. Testimony in
 14       opposition to WSA19-03 also noted safety concerns but
 15       included solutions other than closures, such as
 16       limiting permit numbers, restricting shooting within a
 17       quarter mile of the road, increased law enforcement and
 18       public education.
 19
 20                       During the Board's deliberation on
 21       WSA19-03 five people testified in support of the
 22       request and all testimony focused comments on the BLM
 23       lands on the Richardson Highway around Paxon describing
 24       this area as a combat hunting zone.
 25
 26                       Most of the relevant caribou harvest
 27       was just shared during WSA20-01 presentation, however,
 28       I will also add that between 2001 and 2018 harvest
 29       success rates for the Federal caribou hunt showed
 30       substantial annual variation but only a very slight
 31       decreasing trend. Between 2001 nd 2009 success rates
 32       averaged 31 percent, while between 2010 and 2018
 33       success rates averaged 28 percent. Federally-qualified
 34       subsistence users can also hunt under State
 35       regulations. According to ADF&G success rates for
 36       Federally-qualified users hunting under State
 37       regulations from 2001 to 2016 averaged 38 percent
 38       compared with a 58 percent success rate for non-
 39       Federally-qualified users during this time period.
 40
 41                                 Moving on to moose harvest.
 42
 43                       Similar to caribou, Unit 13 is a
 44       popular place to moose hunt due to its road
 45       accessibility. While Federal seasons open August 1st,
 46       whereas State seasons open September 1st, most moose
 47       are harvested in mid-September when bulls are more
 48       susceptible to harvest. Between 2006 and 2018 an
 49       average of 930 moose were reported harvested each year.




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                6 of 346 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020         WORK SESSION


                                                                      Page 47
  1       Over the same time period an average of 4,700 people
  2       hunted under State regulations each year with a 17
  3       percent success rate, while an average of 600 people
  4       hunted under Federal regulations each year with an 11
  5       percent success rate. Most moose harvest on Federal
  6       lands occurs in Unit 13B.
  7
  8                       If this request is approved, Federal
  9       public lands in Unit 13 will be closed to moose and
 10       caribou hunting by non-Federally-qualified users for
 11       the 2020/21 regulatory year. While Federal public
 12       lands compromise 12.4 percent of Unit 13, the BLM lands
 13       in Units 13A and 13B, which only comprise 2.7 percent
 14       of the unit are the focus of the immense hunting
 15       competition, overcrowding, user conflict and safety
 16       concerns. Therefore, the effects of this request will
 17       focus on these BLM lands. According to ANILCA, Section
 18       .815(3) Federal public lands may be closed to non-
 19       subsistence uses only when necessary for the
 20       conservation of healthy wildlife populations, to
 21       continue subsistence uses of such population or for
 22       reasons set forth in Section .816, which includes for
 23       reasons of public safety.
 24
 25                       Closures for conservation is not
 26       warranted as moose and caribou populations are within
 27       or above management objectives. The effectiveness of
 28       the closure for the continuation of subsistence uses of
 29       caribou is uncertain as caribou harvest is primarily
 30       related to availability and caribou have not been
 31       available on Federal public lands in recent years.
 32       However, as most caribou harvest occurs under State
 33       regulations and caribou in Unit 13 experience extremely
 34       heavy hunting pressure, a closure may reduce
 35       competition and limit disruption to caribou movements
 36       which may increase hunting opportunity and harvest
 37       success by Federally-qualified subsistence users.
 38
 39                       Closure for continuation of subsistence
 40       uses of moose may be warranted. Harvest success rates
 41       are lower under Federal regulations than under State
 42       regulations. A closure may reduce competition from
 43       non-Federally-qualified users, increasing hunting
 44       opportunity and harvest success of Federally-qualified
 45       subsistence users.
 46
 47                       Closure for reasons of public safety
 48       may be warranted. Safety concerns resulting from
 49       intense hunting pressure, overcrowding, disruption of




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                7 of 347 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020                    WORK SESSION


                                                                                    Page 48
  1       hunts, and unsafe shooting practices have been
  2       repeatedly stated by all user groups. While these
  3       concerns may be better addressed through increased law
  4       enforcement or restrictions along road sides, these
  5       options have not been implemented and are outside of
  6       the Board's authority. These safety concerns have been
  7       an issue for decades and have resulted in displacement
  8       of Federally-qualified subsistence users who do not
  9       feel safe hunting in the area.
 10
 11                       The OSM conclusion is to support
 12       Temporary Special Action WSA20-03 with modification to
 13       close Federal public lands to moose and caribou hunting
 14       by non-Federally-qualified users in Units 13A and 13B
 15       only for the 2020/22 regulatory cycle. Extending this
 16       request to the 2021/22 regulatory year will reduce the
 17       administrative burden associated with processing
 18       special action requests. A proposal for this closure
 19       could not take effect until July 1st, 2022, and that
 20       this has been an issue for decades, no change in the
 21       situation are expected between this year and next year.
 22
 23                                 Thank you, Mr. Chair.
 24
 25                                 I'd be happy to answer any questions.
 26
 27                       CHAIRMAN CHRISTIANSON: Thank you for
 28       the analysis, Lisa. Any questions for Lisa.
 29
 30                                 MR. PELTOLA:           Mr. Chair, BIA.
 31
 32                                 CHAIRMAN CHRISTIANSON:           You have the
 33       floor.
 34
 35                       MR. PELTOLA: Thank you, Mr. Chair.
 36       So, Lisa, I was looking back through the analysis for
 37       our previous special action that the Board addressed
 38       and going to this one and I couldn't find anything in
 39       the analysis for this so I was wondering if you could
 40       answer some questions for me.
 41
 42                       With regard to caribou harvest in GMU
 43       23, if I look at the State reg books it says we have
 44       RC561, RC562, we have a community harvest system CC001
 45       permit that we have a drawing, VC485, could you tell me
 46       how many permits have been issued for caribou under
 47       those various scenarios?
 48
 49                                 MS. MAAS:         Gene, I don't think I --




 50

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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                8 of 348 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020           WORK SESSION


                                                                       Page 49
  1       hold on, I don't think I have that information offhand,
  2       like just by permit, so under Federal -- I mean Federal
  3       harvest is by FC1302.
  4
  5                                 MR. PELTOLA:           Correct.
  6
  7                       MS. MAAS: And so I can give you
  8       numbers for Federal harvest under FC1302 and then I can
  9       give you numbers for like total state harvest, but I
 10       don't have numbers, you know, offhand for different
 11       State hunts.
 12
 13                       MR. PELTOLA: So what I was looking at
 14       was that so during the analysis you gave the history
 15       about -- I'm sorry, you gave the history of GMU13,
 16       sorry about that, and then part of that history was the
 17       Board addressed a similar proposal 19-03 which was
 18       rejected by the Board, so over the years the Board has
 19       been exposed to heavy competition, and heavy
 20       competition can be reflective of then, because this is
 21       a regular -- a permit hunt in different capacities, the
 22       competition could be regulated or addressed via permit
 23       issuance, if there is a perception of, or realized
 24       heavy competition, then a reduction of permits could be
 25       utilized to reduce that potential competition. Safety
 26       per the terms, the place is flooded, a lot of
 27       competition, people aren't hunting there because
 28       there's so many people, a safety aspect could be
 29       addressed by a reduction in permits. So what I'm
 30       trying to get at is there are permits issued for this
 31       hunt in GMU13 from the Federal program and the State
 32       program, so I was trying to find something with regard
 33       to how many permits are issued in the Federal program
 34       and the State program to see if there's actually been a
 35       reduction in permits, therefore, a potential reduction
 36       in the competition or safety concern. And the reason I
 37       ask that is in the State's correspondence in the
 38       previous, in the May 20th letter from the Department,
 39       under Unit 13 caribou hunt structure for regulatory 18
 40       -- RC561 had 4,586 permits, a quota of 500; RC562 had
 41       4,181 permits, a quota of 500, CC01 had 838 permits for
 42       a quota of 400, VC45 had 5,000 permits for a quota of
 43       250.
 44
 45                       And so I was, you know, quickly adding
 46       up, that's eight, nine, 14, 17 -- roughly 17,000
 47       permits issued so I was just trying to see if the trend
 48       had been increasing, decreasing, or remaining the same
 49       with regard to those permit issuances.




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                                                    ExhibitPage
      Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20    1 - Page
                                                                9 of 349 of 11
FEDERAL SUBSISTENCE BOARD                         7/16/2020                        WORK SESSION


                                                                                    Page 50
  1                                 Thank you much.
  2
  3                                 Mr. Chair.
  4
  5                       MS. MAAS: Through the Chair. I can
  6       give you numbers of hunters, which is kind of a
  7       reflection on numbers of permits and, I mean, you may
  8       be aware that the RC permits, I mean they are a
  9       registration permit but there's some limitations on
 10       there like if you get that permit through the State you
 11       can only hunt caribou in Unit 13 and nowhere else in
 12       the state, whereas, if you get that draw permit you can
 13       hunt caribou in Unit 13 and anywhere else. So it's
 14       just, you know, kind of a benefit, you know, if people
 15       are able to get that draw permit, it gives them more
 16       flexibility and opportunity.
 17
 18                       So for the Federal caribou hunt, hunter
 19       numbers has only slightly increased. Between 2001 and
 20       2009, the number of hunters under Federal regulations
 21       was 1,322 and between 2010 and 2018 hunter numbers
 22       averaged 1,469 hunters. So that was just a slight
 23       increase under Federal regulations.
 24
 25                       And then, again, I mean State -- yeah,
 26       I could probably get you the State hunter numbers but
 27       it's going to take me a moment.
 28
 29                       MR. PELTOLA: Yeah, Mr. Chair, if I
 30       may, BIA again. Under that same letter dated May 20th,
 31       2020, under GMU13, at least regard to regulatory 18,
 32       for those hunts I cited a number of permits issued,
 33       they also have number of hunted permits and that's kind
 34       of reflective of, you know, those that received a
 35       permit, did not hunt, so RC561 is 1,7(indiscernible)
 36       hunted, RC562 is 2,080 hunted, CC001 was 376 hunted,
 37       VC45 was 1,233 and so that comes up with a total just
 38       shy of 5,500 hunters.
 39
 40                                 Thank you, Mr. Chair.
 41
 42                       CHAIRMAN CHRISTIANSON:                      Any other
 43       questions for the Staff.
 44
 45                                 MR. SIEKANIEC:            Mr. Chair, this is
 46       Greg.
 47
 48                                 CHAIRMAN CHRISTIANSON:            Greg, go ahead.
 49




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                                                 ExhibitPage
    Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20   1 - Page   10 of 11
                                                              10 of 34
FEDERAL SUBSISTENCE BOARD                         7/16/2020           WORK SESSION


                                                                        Page 62
  1                       MR. PADGETT: The proponents primary
  2       rationale for submitting this request was for
  3       experimental reasons to evaluate if harvest success
  4       rates of Federally-qualified subsistence users would
  5       improve, which is outside of the scope of this Board's
  6       regulatory authority. The closure was not shown to be
  7       necessary for the continuation of subsistence uses of
  8       moose and caribou populations. Annual harvest rates of
  9       Federally-qualified subsistence users have remained
 10       fairly consistent and the low Federal harvest in 2019
 11       was more a function of lack of availability of caribou
 12       during the harvest period, rather than the interference
 13       from non-Federally-qualified users, however, many
 14       Federally-qualified subsistence users do feel displaced
 15       by the influx of non-local hunters into the area.
 16
 17                       The closure is also not necessary for
 18       reasons of public safety. Such a closure would only
 19       serve to shift where non-local hunters would go to
 20       harvest animals. The OSM analysis indicates that such
 21       a shift may, in fact, serve to further disrupt hunting
 22       by Federally-qualified subsistence users and such a
 23       closure would not prevent non-Federally-qualified users
 24       from accessing BLM lands in order to travel from the
 25       road to State-managed lands. It could also concentrate
 26       non-local hunters along road accessible, State-managed
 27       lands, which may increase safety concerns in those
 28       areas. This, coupled with the complex and ill-defined
 29       boundaries between State and Federal lands in Unit 13
 30       make navigating such a closure difficult at best.
 31
 32                       Additionally, issues related to unsafe
 33       shooting practices and other user conflicts are best
 34       addressed by law enforcement.
 35
 36                       As indicated in the OSM analysis, this
 37       closure is also not necessary for the conservation of
 38       healthy populations of moose or caribou in Unit 13 as
 39       population estimates for both species meet State
 40       management objectives. While bull, cow and calf/cow
 41       ratios for caribou have fluctuated over time, long-term
 42       averages for both indicate that the Nelchina Caribou
 43       Herd is healthy and can sustain the current level of
 44       harvest. In addition, both caribou and moose
 45       populations are routinely monitored and the data
 46       gathered is used to inform management plans and
 47       establish sustainable harvest guidelines.
 48
 49                                 Last year this Board opposed a similar




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                                                 ExhibitPage
    Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20   1 - Page   11 of 11
                                                              11 of 34
     Changes in Caribou Hunting Regulations in Unit 23
                     Frequently Asked Questions on Closure of
                Federal Public Lands to Non-Federally Qualified Users
                            Important July 2017 Update

There has been an important change in the closure of federal
public lands in Game Management Unit 23 to non-federally
qualified users. Last year (2016-17) all federal public lands in
this unit were closed to caribou hunting by non-federally
qualified users. This year (2017-18) only some federal public
lands are closed to non-federally qualified users (see map on
following page). This is the result of the Federal Subsistence
Board’s decision on a request submitted by the Northwest Arctic Subsistence
Regional Advisory Council.

This fact sheet answers common questions about this closure. The main highlights are:
    • The closure for 2017-18 is different than in 2016-17: This year only SOME of the
       Federal public lands in Game Management Unit 23 are closed to caribou hunting
       by “non-Federally qualified users.”
                o The following page describes the area affected by the closure for 2017-18, which we
                  will refer to as the “closure area,” including the Squirrel, Eli and Agashashok (Aggie)
                  River drainages and parts of the Noatak River.
     •    Only “Federally qualified users” are allowed to hunt caribou on Federal public lands in the
          closure area (see #2 and #3 below).
     •    “Federal public lands” in the closure area are lands and waters managed by the National
          Park Service and Bureau of Land Management.
              o State and private lands, including Alaska Native corporation lands (e.g. NANA and KIC
                  lands) are NOT subject to this closure.
              o Federal public lands outside the closure area are NOT subject to the closure.
     •    This closure ONLY applies to caribou hunting, not hunting for other animals such as moose,
          bear, etc.
     •    This closure is in effect for one regulatory year (July 1, 2017 through June 30, 2018).

For more information, please contact the appropriate land manager below:

National Park Service                          U.S. Fish & Wildlife Service                   Bureau of Land Management
Maija Lukin                                    Susan Georgette                                Bruce Seppi
Superintendent                                 Refuge Manager                                 Biologist
(907) 442-3890                                 (907) 442-3799                                 (907) 267-1282
maija_lukin@nps.gov                            susan_georgette@fws.gov                        bseppi@blm.gov
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                                                           Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page2-12Page
                                                                       of 34 1 of 5
1. Where does the 2017-18 Federal closure apply?
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closed area covers Federal public lands within the Squirrel, Eli, and Agashashok (Aggie) River
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western boundary of Noatak National Preserve upstream to the confluence with the Cutler River. The
closure restricts caribou hunting by non-Federally qualified users, but allows subsistence hunting by
Federally qualified subsistence users for the July 1, 2017 – June 30, 2018 regulatory year.
The closure area is shown in the map below with a black outline and black crosshatching lines.




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                                                           Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page2-13Page
                                                                       of 34 2 of 5
                                                Exhibit
Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page2-14Page
                                                            of 34 3 of 5
4. What are “Federal public lands?”

This closure applies to “Federal public lands” within the closure area described in #1. Under Federal
law, Federal public lands in the closure area include all Federal land, and all waters within and
adjacent to the external boundaries of Noatak National Preserve. On Bureau of Land Management
(BLM) lands, the closure applies to BLM lands and to non-navigable waters adjacent to BLM lands.
Please see the map on page 2 for general location of Federal public lands in the closure area;
contact the respective land manager for information about specific areas.

5. How long will this closure be in effect?

Unless rescinded earlier, this closure of caribou hunting to non-Federally qualified users is in effect
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6. If I am NOT eligible to hunt caribou, can I help someone who is eligible?

If you are not eligible to hunt caribou, you can be present but CANNOT participate in the taking of
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hunter with the cleaning, salvage, or processing of a legally harvested animal. Please see the
definitions section at the end of this fact sheet for the definition of “taking” or consult with the
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Yes. You can share legally taken caribou with whoever you want.

8. Can a non-Federally qualified user take caribou from a boat or while caribou are
swimming?

A non-Federally qualified user CANNOT take caribou in or from the water in closed portions of Noatak
National Preserve, where rivers and water bodies are subject to Federal subsistence regulations (see
#4). These waters are considered “Federal public lands” and are closed to the taking of caribou
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The regulations are different for Bureau of Land Management (BLM) lands. The closure applies to
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management, such as the Squirrel River drainage, rivers or water bodies adjacent to lands owned or
selected by the State of Alaska or Alaska Native corporations or other private lands are not subject to
this closure. This includes much of the lower Squirrel River corridor. This means that non-Federally
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Alaska Native corporation lands in the Squirrel River area, if they otherwise would be allowed to do
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9. Can a non-Federally qualified user take caribou on gravel bars along navigable waters
below the “ordinary high water mark” when the adjacent uplands are Federal public lands?

When the adjacent uplands are Federal public lands, the strip of land—often a gravel or mud bar—
between the edge of a river and the “ordinary high water mark” is open in some areas to caribou

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                                                           Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page2-15Page
                                                                       of 34 4 of 5
hunting by non-Federally qualified users. For the 2017-18 closure area, non-Federally qualified users
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PLEASE NOTE: While non-Federally qualified users are allowed to hunt caribou between the edge of a
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urged to use caution and extremely good judgment if hunting in this narrow strip of land to avoid the
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In the field, the “ordinary high water mark” generally means where vegetation starts along a water
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Yes, but the hunter should have proof that the caribou was taken below the ordinary high water
mark. A cell phone photo of the kill site is one way to do this.


                                                                 DEFINITIONS

Family means all persons related by blood, marriage, or adoption or any other person living within the household on a
permanent basis (from 50 CFR 100.4).

Take or taking as used with respect to fish or wildlife, means to pursue, hunt, shoot, trap, net, capture, collect, kill, harm, or
attempt to engage in any such conduct (from 50 CFR 100.4).

The ordinary high water mark on a non-tidal river is the line on the shore established by the fluctuations of water and indicated
by physical characteristics such as a clear, natural line impression on the bank; shelving; changes in the character of soil;
destruction of terrestrial vegetation; the presence of litter and debris; or other appropriate means that consider the characteristics
of the surrounding areas [from 33 CFR 329.11(a)(1)].




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                                                           Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page2-16Page
                                                                       of 34 5 of 5
From: Maas, Lisa <Lisa_Maas@fws.gov>
Sent: Friday, July 31, 2020 4:08 PM
To: Mulligan, Benjamin J (DFG) <ben.mulligan@alaska.gov>
Cc: Burch, Mark E (DFG) <mark.burch@alaska.gov>; Pappas, George E <george_pappas@fws.gov>
Subject: Re: [EXTERNAL] FW: News Release: Changes in Federal Moose and Caribou Hunting Regulations in Unit 13:
Frequently asked questions on closure of Federal public lands to non-Federally qualified users
Hi Ben,
The actual "water" parts of the rivers is considered Federal public lands.
You may recall (or maybe this was before your time?), but that question was addressed in the FAQ factsheet for the
Unit 23 caribou closure (see attached) and went through alot of review by LE, federal agency staff and the solicitor.
The answer in the Unit 13 factsheet was taken almost verbatim from the Unit 23 factsheet.
According to 50 CFR 100.4, "Federal lands means lands and waters and interests therein the title to which is in the United
States, including navigable and non-navigable waters in which the United States has reserved water rights."
According to 50 CFR 100.3(c), "The regulations contained in this part apply on all public lands, excluding marine waters,
but including all inland waters, both navigable and non-navigable, within and adjacent to the exterior boundaries
of the following areas:
(30) All components of the Wild and Scenic River System located outside the boundaries of National Parks, National
Preserves, or National Wildlife Refuges, including segments of the Alagnak River, Beaver Creek, Birch Creek, Delta
River, Fortymile River, Gulkana River, and Unalakleet River.
Hope this helps,
Lisa
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
Lisa Maas
Acting Policy Coordinator/Wildlife Biologist
Office of Subsistence Management
U.S. Fish and Wildlife Service
Anchorage, AK
907-786-3357

From: Mulligan, Benjamin J (DFG) <ben.mulligan@alaska.gov>
Sent: Friday, July 31, 2020 3:24 PM
To: Maas, Lisa <Lisa_Maas@fws.gov>
Cc: mark.burch <mark.burch@alaska.gov>; Pappas, George E <george_pappas@fws.gov>
Subject: [EXTERNAL] FW: News Release: Changes in Federal Moose and Caribou Hunting Regulations in Unit 13: Frequently
asked questions on closure of Federal public lands to non-Federally qualified users


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responding.




Lisa,

Since you're the contact on the FAQs I felt comfortable contacting you directly as long as I copied George.

In the FAQs under #5 it talks about the distinction of a non-federally qualified hunter being able to hunt only between the
edge of the water and the ordinary high water mark and I'm wondering why that distinction? Why couldn't a non-federally
qualified user take a moose or caribou that was standing in the water?



                                                        Exhibit
         Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 17
                                                                  - Page
                                                                     of 34 1 of 7
Thanks,

Ben



-----Original Message-----
From: fws-fsb-subsistence <fws-fsb-subsistence-bounces@lists.fws.gov> On Behalf Of Federal Subsistence News
Sent: Friday, July 31, 2020 12:02 PM
To: FW7 Subsistence <FW7_Subsistence@fws.gov>
Cc: Clark, Karen <karen_clark@fws.gov>; Boario, Sara D <sara_boario@fws.gov>
Subject: Subsistence: News Release: Changes in Federal Moose and Caribou Hunting Regulations in Unit 13: Frequently
asked questions on closure of Federal public lands to non-Federally qualified users

**************************************************************************
Federal Subsistence Board listserver

This list is for subscription only. You cannot reply to a message. You can view the news release archive or issues of
importance in Subsistence at:
https://urldefense.com/v3/__http://www.doi.gov/subsistence/index.cfm__;!!J2_8gdp6gZQ!4o5Fhq_gq1CCrV0xJucXqzFXLB4-
JsiIWM3X3g-6BY7SCogACfLEkyQr37z9g36Ke9-iTg$

For further information about a news release or event, call the phone number or email the contact listed in the news
release.
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                                                         Exhibit
          Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 18
                                                                   - Page
                                                                      of 34 2 of 7
     Changes in Caribou Hunting Regulations in Unit 23
                     Frequently Asked Questions on Closure of
                Federal Public Lands to Non-Federally Qualified Users
                            Important July 2017 Update

There has been an important change in the closure of federal
public lands in Game Management Unit 23 to non-federally
qualified users. Last year (2016-17) all federal public lands in
this unit were closed to caribou hunting by non-federally
qualified users. This year (2017-18) only some federal public
lands are closed to non-federally qualified users (see map on
following page). This is the result of the Federal Subsistence
Board’s decision on a request submitted by the Northwest Arctic Subsistence
Regional Advisory Council.

This fact sheet answers common questions about this closure. The main highlights are:
    • The closure for 2017-18 is different than in 2016-17: This year only SOME of the
       Federal public lands in Game Management Unit 23 are closed to caribou hunting
       by “non-Federally qualified users.”
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                                                          Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 19
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                                                          Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 20
                                                                    - Page
                                                                       of 34 4 of 7
2. Who is eligible to hunt caribou on federal public lands in Unit 23?

Beginning July 1, 2017, ONLY “Federally qualified users” are eligible to hunt caribou on Federal
public lands in the closure area. “Federally qualified users” are rural residents who have been
determined by the Federal Subsistence Board to have a customary and traditional use of caribou in
Unit 23 (see #3 for more information).

Other Federal public lands in Unit 23 outside the closure area are open to caribou hunting as they
would generally be under State hunting regulations; however, National Park Service lands have
additional restrictions on eligibility to hunt on Cape Krusenstern National Monument, Kobuk Valley
National Park and Gates of the Arctic National Park (see #3 below for more information).

3. Who is a “Federally qualified user” for caribou in Unit 23?

You must have your primary, permanent place of residence in one of the following units or communities to
be a “Federally qualified user” eligible to hunt caribou on Federal public lands in the closure area in Unit
23:

    Eligible Game Management Units                        This includes but is not limited to these communities:
Unit 21D (west of the Koyukuk and                      Galena, Kaltag, Koyukuk, and Nulato
Yukon Rivers and Galena)
Unit 22                                                Brevig Mission, Council, Elim, Gambell, Golovin, Koyuk, Little
                                                       Diomede, Nome, Saint Michael, Savoonga, Shaktoolik,
                                                       Shishmaref, Stebbins, Teller, Unalakleet, Wales, and White
                                                       Mountain
Unit 23                                                Ambler, Buckland, Deering, Kiana, Kivalina, Kobuk, Kotzebue,
                                                       Noatak, Noorvik, Point Hope, Selawik, and Shungnak
Unit 24 (including residents of Wiseman but            Alatna, Allakaket, Anaktuvuk Pass, Bettles, Evansville,
not including other residents of the Dalton            Hughes, Huslia, Wiseman
Highway Corridor Management Area)
Unit 26A                                               Atqasuk, Barrow, Nuiqsut, Point Lay, and Wainwright

Anyone permanently residing in a Game Management Unit NOT on this list, including areas such as
Anchorage, Fairbanks, Mat-Su Valley, Kenai, etc., is a “non-Federally qualified user” and is NOT
eligible to hunt caribou on Federal public lands in the closure area during 2017-18. This includes
former residents (both Alaska Native and non-Native) of the units listed above, even if they grew up
in those units. Non-Federally qualified users may still hunt caribou in Unit 23 on some Federal public
lands outside the closure area (see NPS info below), and on State-managed lands and private lands.

      IMPORTANT NOTE: The National Park Service has additional restrictions on who can hunt for any species in Cape
      Krusenstern National Monument, Kobuk Valley National Park, and Gates of the Arctic National Park. These areas are
      open ONLY to subsistence hunters who reside in “resident zone communities.” For Cape Krusenstern National Monument
      and Kobuk Valley National Park, “resident zone communities” include all communities within the NANA region. For Gates
      of the Arctic National Park, “resident zone communities” include the communities of Ambler, Kobuk, Shungnak, Anaktuvuk
      Pass, Nuiqsut, Wiseman, Bettles/Evansville, Alatna, Allakaket, and Hughes.

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                                                          Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 21
                                                                    - Page
                                                                       of 34 5 of 7
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Please see the map on page 2 for general location of Federal public lands in the closure area;
contact the respective land manager for information about specific areas.

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management, such as the Squirrel River drainage, rivers or water bodies adjacent to lands owned or
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           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 22
                                                                    - Page
                                                                       of 34 6 of 7
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                                                          Exhibit
           Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page3 23
                                                                    - Page
                                                                       of 34 7 of 7
                                                                                                                                                                                                                                                                                                                Department of Fish and Game
                                                                                                                                                                                                                                                                                                                                                                         OFFICE OF THE COMMISSIONER
                                                                                                                                                                                                                                                                                                                                                                                      Headquarters Office
                                                                                                                                                                                                                                                                                                                                                                                                                              1255 West 8th Street
                                                                                                                                                                                                                                                                                                                                                                                                                                  P.O. Box 115526
                                                                                                                                                                                                                                                                                                                                                                                                                        Juneau, Alaska 99811-5526
                                                                                                                                                                                                                                                                                                                                                                                                                               Main: 907.465.6136
                                                                                                                                                                                                                                                                                                                                                                                                                                 Fax: 907.465.2332




                                                                                                                                                   MEMORANDUM
       TO:                                                                      Anthony Christianson, Chair                                                                                                                                                                                             DATE:                                                                   May 20, 2020
                                                                                Federal Subsistence Board
                                                                                                                                                                                                                                                                                                        PHONE:                                                                  267-2190

       FROM:                                                                    Ben Mulligan                                                                                                                                                                                                            SUBJECT:                                                                Wildlife Special
                                                                                Deputy Commissioner                                                                                                                                                                                                                                                                             Actions 01, 02, & 03
       _____________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




The Alaska Department of Fish and Game (ADF&G) has reviewed Wildlife Special Actions WSA20-
01, WSA20-02, WSA20-03. Temporary Special Action Request WSA20-01, submitted by William
Amburg, requests a continuous caribou season in Unit 13 from Aug. 1-Mar. 31, and that the caribou
harvest limit in Unit 13 remainder be changed to two caribou for the 2020/21 and 2021/22 seasons.
Temporary Special Action Request WSA20-02, submitted by the Ahtna Intertribal Resource
Commission, requests the development of a community harvest system for moose and caribou in Units
11, 12, and 13. Given the Board’s recent action on Wildlife Proposal WP18-19, only the Unit 12
requests will be considered in the analysis for this special action. Temporary Special Action Request
WSA20-03, submitted by Kirk Wilson, requests that the Board close Federal public lands in Unit 13 to
the harvest of moose and caribou except for Federally qualified subsistence users for the 2020/21
season.

The State of Alaska, Department of Fish and Game (ADF&G) appreciates the opportunity to provide
comments on these Special Action requests.


Background

Caribou

ADF&G maintains the Nelchina caribou herd with the objective of 35,000–40,000 animals
remaining in the herd after the fall hunting season. The strategy behind this objective is to
maintain the herd below carrying capacity to prevent overgrazing of summer or winter range and
allow for a relatively stable level of harvest annually. Caribou herds typically display cyclical
patterns of growing population abundance, when significant numbers of caribou may be
harvested, but if population growth is not curbed then populations will go into an inevitable
decline after the herd exceeds the carrying capacity of its range. These precipitous declines are
often followed by extended periods of little or no harvest to allow a herd to recover to a level
where sustainable harvest may be allowed. Nelchina caribou herd management is an approach
                Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20             Exhibit
                                                                                    Page 4 24
                                                                                            - Page
                                                                                               of 34 1 of 6
         Anthony Christianson                  ~2~                                    May 20, 2020

that has been in place since the mid-1990s with the intent of reducing the extent to which the
herd abundance fluctuates, thus allowing harvest annually and avoiding prolonged periods of
little or no harvest.

The mild winters and productive summers of 2014, 2015, and 2016 resulted in high productivity
within the Nelchina herd and population abundance increased steadily. A significant increase in
harvest was necessary to stop population growth and reduce caribou abundance to within
population objectives before herd grazing resulted in negative effects on nutritional availability
on the herd’s range.

Fall abundance estimates are used to predict abundance for the following summer, and the
appropriate number of draw permits are issued in February for the following hunting season. The
department increased the number of draw permits for RY16, which was the only regulatory
option to increase caribou harvest for the Nelchina caribou herd at that time. Public outreach
efforts were utilized to encourage harvest; overall harvest (state and federal combined) increased
from 4,169 caribou in RY15 to 6,296 caribou in RY16. This was a period of overabundance, and
this level of harvest should not be expected annually for Nelchina caribou hunters. Despite this
high level of harvest, herd abundance remained well above population objectives after both the
fall and winter hunts and remained at its previous level in 2017 (the herd was not reduced). The
maximum number of draw permits were issued for RY17 and 4,890 caribou were harvested.
Following the fall hunt, Nelchina caribou abundance remained above population objectives by
more than 1,400 animals. Given this information, the maximum number of draw permits were
issued for RY18.

Over the winter of 2017/2018, adult mortality was higher than predicted and calf recruitment was
lower than average. Additionally, in the spring of 2018 the Nelchina herd displayed lower
parturition rates than it had in previous years. These factors, including the 2018 calf crop being
lower than in recent years, resulted in an abundance estimate for the summer of 2018 that was
above the lower end of the population objectives. The reduction in abundance in 2018 was a
natural fluctuation that, while not predictable in terms of precise timing, was expected if herd
abundance remained above objectives. Had harvest been reduced in RY15, RY16, or RY17, the
natural reduction in Nelchina caribou abundance in 2018 may have been much more drastic than
observed. The herd has returned to a more manageable size just below or within population
objectives, and permit numbers and harvest levels will return to more typical levels. Regardless,
the number of draw permits issued in a given year does not affect actual harvest, as draw hunts
are regulated with quotas in years such as 2018, when draw permits were issued in February
according to the fall abundance estimate, and an accumulation of natural events resulted in a
lower than predicted abundance estimate in the following summer.

With the reduction of the herd in 2018, an overall quota of 5% of the herd (1,800 animals) was
set to utilize harvestable surplus while still allowing for herd growth. Predicting a federal harvest
of 400 animals and a CC001 harvest of 150 bulls, quotas were set for the remaining hunts as: 500
bulls for RC561, 500 bulls for RC562, and 250 bulls for DC485 (Table 1).

The Unit 13 federal caribou season FC1302 opened on August 1, 2018 with no competition from
state hunters. CC001 (838 permits) opened on August 10th and remained open until September
20th. Only 376 CC001 hunters have reported hunting in RY18. RC561 opened on August 10th as
well, but the quota was achieved, and the hunt was closed by emergency order on August 18th.
Less than 1,800 RC561 hunters hunted Unit 13 over this time period. DC485 opened on August
20th; the quota was met, and the hunt was closed by emergency order on August 26th; 1,223
DC485 hunters hunted in Unit 13 over this time period. Only federal hunters and CC001 hunters

                                                              Exhibit
               Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page4 25
                                                                        - Page
                                                                           of 34 2 of 6
          Anthony Christianson                        ~3~                                   May 20, 2020

were in the field from August 27th until September 1st when RC562 opened. The quota for
RC562 was reached at the close of the regularly scheduled season on September 20th; 2,080
RC562 hunters hunted Unit 13 over this time period. Only federal hunters remained in the field
from September 21st until the fall season closed on September 30th. CC001 was the only state
hunt to reopen for the winter season on October 21st when the federal season also reopened. State
hunts, however, were limited to bulls only while the federal hunts remained either sex. Both
hunts remained open until March 31st. Caribou migrated across federal lands in Unit 13 in late
October and early November in 2018. Only 63 caribou were harvested by CC001 hunters during
the winter season. A total of 260 caribou were harvested by non-subsistence users in RY18. One-
thousand-five-hundred eighty-five caribou were harvested by subsistence users, and 19% of the
total harvest of Nelchina caribou was taken on FC1302 permits. The Amount Necessary for
Subsistence (ANS) for caribou in Unit 13 is 600–1,000


Table 1. Unit 13 caribou hunt structure, RY18.
                                                                  Predicted       Days            Actual
       Hunt           Bag Limit          Permits       Quota       Harvest        Open   Hunted   Harvest
      RC561           Bull Only           4,586         500          500            9     1,795     530
      RC562           Bull Only           4,181         500          500           20     2,080     528
      CC001           Bull Only            838          400          150          204     376*      167
      DC485           Bull Only           5,000         250          250            7     1,223     260
      FC1302         Bull or Cow          3,082          -           400          223     TBD*      360
                                         17,687                     1,800                >5,474    1,845
*Total number of hunters for RY18 has not been finalized; reports as of 5/21/19

For RY19, Nelchina caribou grouped-up in large photographable aggregations and the herd had
very high productivity. The federal caribou season opened August 1st and closed on September
30th. The new youth caribou hunt (YC495; 200 permits) opened on August 1st – closing on
August 5th. No state hunters were in the field from August 6th through the 9th. On August 10th
CC001 opened (810 permits), as well as RC561 (2,790 permits). RC561 closed on August 31st
and RC562 opened on September 1st (2,884 permits). DC485 opened on August 29th (399
permits). This hunt structure resulted in significantly less caribou hunters in Unit 13 at any given
time, compared to the previous seven seasons. Due to slow harvest rates for both state and
federal hunters, additional opportunity for state permits was created for September 21st through
September 30th. This allowed federal hunters holding state permits to continue to hunt on state
lands in addition to federal lands during this period. Caribou migrated across the Richardson
Highway and largely out of Unit 13 during the season closure of October 1st through October
20th. Harvestable surplus for RY19 was not harvested during the fall season, and all regularly
scheduled caribou seasons reopened on October 21st and closed on March 31st.

Moose

Following the standard moose hunt structure for Unit 13, the federal season for RY19 opened on
August 1st and closed on September 20th. No other moose hunters were in the field from August
1st until CM300 opened on August 20th. There were 2,140 CM300 permits for RY19, but in
RY18 only 662 CM300 hunters actually hunted out of 2,331 permits issued. On September 1st,
the state general moose season opened, as did DM324 (5 permits) and DM335–DM339 (115
permits combined). All moose hunts closed on September 20th.



                                                                 Exhibit
                  Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page4 26
                                                                           - Page
                                                                              of 34 3 of 6
         Anthony Christianson                    ~4~                                      May 20, 2020

Management Strategies

The Amount Necessary for Subsistence (ANS) for caribou in Unit 13 is 600–1,000 and the ANS
for moose in Unit 13 is 300–600. Harvestable surplus and harvest for both caribou and moose in
Unit 13 were well above the ANS in RY18 with 1,845 caribou and at least 790 moose harvested.
Total moose harvest for RY18 in Unit 13 has not been finalized, as harvest data continues to be
coded for GM000. Federal permit holders harvesting caribou in Unit 13 where caribou are
available on federal subsistence hunt areas annually harvest 7%–19% of the total Nelchina
caribou harvest (most recent five-year average = 11%). Federal permit holders harvesting moose
on federal lands in Unit 13 account for 8%–10% of the total moose harvest in Unit 13 (most
recent five-year average = 9%).
Federal hunt data does not support the interpretation that the number of state hunters in the field
negatively impacts either moose or caribou hunt success on federal permits in Unit 13. In RY10–
RY13 the average number of annual state moose hunters in Unit 13 was 4,602 (Table 2). This
average increased to 5,190 state moose hunters for RY14–RY17. Federal permit success during
those time periods actually increased from a four-year average of 5% to a four-year average of
7%; federal hunt success increased from a four-year average of 10% to 13%; federal catch per
unit effort (CPUE 100dy) also increased from a four-year average of 1.53 moose per 100 days of
effort to a four-year average of 2.15 moose per 100 days of effort. In RY18 the number of state
moose hunters in Unit 13 dropped to 4,553, but federal moose permit success also dropped to
4%, federal hunt success dropped to 10%, and federal CPUE dropped to 1.7 moose per 100 days.

       Table 2. Unit 13 Federal Moose Harvest and State Moose Hunter Numbers

                                                                              Total        % Harvest FM1301
     FM1301 FM1301 FM1301 Permit                      Hunt        State      Unit 13 on FM1301 CPUE
 RY Harvest Permits Hunted Success Success Hunters Harvest                                   Permits      (100dy)
2010    77        1,172       669          7%         12%         4,239         777            10%          1.4
2011    80        1,327       680          6%         12%         4,156         826            10%          1.8
2012    59        1,292       645          5%          9%         4,896         625             9%          1.4
2013    50        1,205       535          4%          9%         5,116         624             8%          1.5
2014    86        1,313       656          7%         13%         4,649         845            10%          2.1
2015    85        1,330       699          6%         12%         5,039         966             9%           2
2016    99        1,385       685          7%         14%         5,866         983            10%          2.3
2017    90        1,399       686          6%         13%         5,208         905            10%          2.2
2018    61        1,357       631          4%         10%        4,553*        790*             8%          1.7
     *Total number of GM000 hunters and harvest for RY18 in Unit 13 has not been finalized; reports as of
       5/21/2019

Similarly, for RY10–RY13 the four-year average for number of state caribou hunters in Unit 13
was 4,849 (Table 3). This four-year average increased to 7,214 state caribou hunters for RY14–
RY17. Permit success during those time periods remained stable with four-year averages of 14%
for both time periods; hunt success remained stable with four-year averages of 28% for both time
periods; catch per unit effort (CPUE 100dy) decreased slightly from a four-year average of 4.80
caribou per 100 days of effort to a four-year average of 4.62 caribou per 100 days of effort. In
RY18 the total number of state caribou hunters dropped to roughly 5,474 hunters; while federal
reporting is not complete at this time to provide hunt success or CPUE for RY18, the overall
permit success actually dropped to 11% with the decrease of state hunters in the field. Federal
hunt success for caribou is likely impacted more by the timing of caribou migration across
federal lands than by the number of state hunters in the field.

                                                               Exhibit
                Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page4 27
                                                                         - Page
                                                                            of 34 4 of 6
               Anthony Christianson               ~5~                                   May 20, 2020

    Table 3. Unit 13 Federal Caribou Harvest and State Caribou Hunter Numbers

                                                  FC1302

     Bull    % of    Cow     % of    Total          Permit Permits Hunt          State   State
 RY Harvest Harvest Harvest Harvest Harvest Permits Success Hunted Success CPUE Permits Hunters
2010 316     70%     130     29%     452     2,852   16%    1,536   29%     5.1  4,755   3,279
2011 281     71%     113     29%     395     2,980   13%    1,425   28%     4.8  4,598   3,260
2012 326     61%     203     38%     537     2,953   18%    1,518   35%      6   8,449   6,198
2013 210     75%      68     24%     279     2,781   10%    1,305   21%     3.3 12,567   6,654
2014 177     75%      59     25%     237     2,943    8%    1,395   17%     2.6  7,164   4,718
2015 444     75%     147     25%     595     3,064   19%    1,562   38%     6.9  8,895   5,735
2016 299     61%     192     39%     491     3,158   16%    1,532   32%     5.4 14,475   9,649
2017 207     58%     145     41%     354     3,071   12%    1,517   23%     3.6 14,446   8,754
2018 220     63%     129     37%     352     3,082   11%      -       -      -  14,605   5,474
2019   -       -       -       -       -       -       -      -       -      -   7,083     -

    Federally qualified subsistence hunters wishing to harvest moose and caribou in Unit 13 can and
    do participate in subsistence and general season hunts for moose or caribou offered by the State
    of Alaska, which allow these hunters to access wildlife resources on all public lands in Unit 13.
    Federally qualified subsistence caribou hunters in Unit 13 may choose to hunt state lands in
    addition to federal lands by participating in Tier I registration hunts (RC561 or RC562) or the
    Community Subsistence Harvest opportunity (CC001). Federally qualified subsistence moose
    hunters in Unit 13 may choose to hunt state lands in addition to federal lands by participating in
    the general season moose hunt (GM000) or the Community Subsistence Harvest opportunity
    (CM300).

    While no hunting-related accidents have been reported in Unit 13 to substantiate a public safety
    concern related to excessive hunting pressure on Unit 13 federal lands at large, questionable
    hunting practices do create a public safety concern when caribou are migrating across the
    Richardson Highway in late fall or early winter. This public safety concern is most often a result
    of traffic jams caused by hunters walking on and/or parking on the pavement of the Richardson
    Highway in narrow and dangerous sections of the road in an attempt to harvest caribou that have
    just been witnessed crossing the road. This situation occurs every year when caribou cross during
    open hunting seasons, even during times when state hunts are closed and only federal hunters
    have the opportunity to harvest animals during the migration across the highway. This public
    safety concern is a realistic argument presented in WSA19-03, but this concern would not be
    addressed by eliminating state hunters from hunting on federal lands. If this public safety
    concern is to be addressed, the most effective way to do so would be to consider a corridor along
    the Richardson Highway in which all hunting is prohibited within a given distance from the
    centerline of the highway.


    Position

    Harvestable surplus and harvest levels for both moose and caribou in Units 12 & 13 are well above
    ANS. The Nelchina caribou herd in RY19 returned to an overabundance that necessitated increased
    harvest. Surveys will be conducted in June and July 2020 to ascertain current productivity and
    abundance for the Nelchina caribou herd. There is no conservation concern at this time. WSA20-01
    seeks to open the caribou season during the rut, a time when many consider the meat of bull caribou to
    be unpalatable. ADF&G is Opposed on that aspect of the proposal. Most caribou herds in Alaska are

                                                                   Exhibit
                    Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page4 28
                                                                             - Page
                                                                                of 34 5 of 6
         Anthony Christianson                   ~6~                                    May 20, 2020

managed with a break during the rut to allow time for uninterrupted breeding and to discourage the
potential take of unpalatable meat. The proposal also seeks to change the bag limit from 2 caribou, sex
to be announced by the federal manager to just two caribou. ADF&G sees no justification for
diminishing the manager’s discretion in this way, but annual bag limits and in-season changes should be
set in consultation with state wildlife managers.

WSA20-02 seeks to establish a community harvest system for moose and caribou similar to the action
taken by the Federal Subsistence Board under WP18-19. ADF&G does not take a position on
administration procedures for federal hunts.

WSA20-03 seeks to close federal public lands to moose and caribou hunting except for federally
qualified users. There is no evidence that hunting pressure has displaced moose or caribou from
traditional migration corridors. The data indicate that restricting federal lands to federally qualified
hunters is not likely to impact hunt success for federally qualified hunters. The action proposed in
WSA20-03 action will not address the perceived public safety concern on federal lands during the
caribou hunting season particularly along the Richardson Hwy.



Cc:    Eddie Grasser, Director, Division of Wildlife Conservation
       Lisa Olson, Operations Manager, Subsistence Section
       Cheryl Brooking, Assistant Attorney General, Department of Law
       George Pappas, State Liaison, Office of Subsistence Management




                                                               Exhibit
                Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page4 29
                                                                         - Page
                                                                            of 34 6 of 6
                                               Exhibit
Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page5 30
                                                         - Page
                                                            of 34 1 of 5
                                               Exhibit
Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page5 31
                                                         - Page
                                                            of 34 2 of 5
                                               Exhibit
Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page5 32
                                                         - Page
                                                            of 34 3 of 5
                                               Exhibit
Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page5 33
                                                         - Page
                                                            of 34 4 of 5
                                               Exhibit
Case 3:20-cv-00195-SLG Document 3-3 Filed 08/10/20 Page5 34
                                                         - Page
                                                            of 34 5 of 5
